  Case: 1:18-cv-00326-MWM Doc #: 86 Filed: 05/06/22 Page: 1 of 4 PAGEID #: 2661




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO

Wendy Berry, Lorri Hulings, and Kathleen
Sammons, individually and as representatives of a             Case No. 1:18-cv-00326-TSB
class of similarly situated persons, and on behalf of
the FirstGroup America, Inc. Retirement Savings               Judge Timothy S. Black
Plan,

                       Plaintiffs,
v.

FirstGroup America, Inc., FirstGroup America, Inc.
Employee Benefits Committee, and Aon Hewitt
Investment Consulting, Inc.,

                       Defendants.



 STIPULATION REGARDING THE ADMISSIBILTY OF DEPOSITION TESTIMONY

       Plaintiffs Wendy Berry, Lorri Hulings, and Kathleen Sammons, and Defendants

FirstGroup America, Inc., FirstGroup America, Inc. Employee Benefits Committee, and Aon

Hewitt Investment Consulting, Inc. (collectively, the “Parties”), through their undersigned

counsel, agree and stipulate as follows:

       WHEREAS, former Aon employees David Kelly and Craig Pearlman were deposed in an

earlier lawsuit titled Reetz v. Lowe’s Companies, Inc., et al., No. 5:18-cv-00075 (W.D.N.C.);

       WHEREAS, excerpts of the depositions of David Kelly and Craig Pearlman were filed

publicly in Reetz v. Aon Hewitt Investment Consulting, Inc., et al., No. 21-2267 (4th Cir.); and

       WHEREAS, the Parties have conferred and agree that these publicly available excerpts

from the prior depositions of Mr. Kelly and Mr. Pearlman may be used in this case;

       THEREFORE, the parties hereby stipulate that the depositions of David Kelly and Craig

Pearlman taken in the matter of Reetz v. Lowe’s Companies, Inc., et al., No. 5:18-cv-00075
  Case: 1:18-cv-00326-MWM Doc #: 86 Filed: 05/06/22 Page: 2 of 4 PAGEID #: 2662




(W.D.N.C.) may be used in this action to the same extent as if those depositions had been taken in

this action.


 Dated: May 6, 2022                              Dated: May 6, 2022

 NICHOLS KASTER, PLLP                            GOODWIN PROCTER LLP
 By: /s/ Paul J. Lukas                           By: /s/ David Rosenberg
 Paul J. Lukas (admitted pro hac vice)           James O. Fleckner (admitted pro hac vice)
 Brock J. Specht (admitted pro hac vice)         David Rosenberg (admitted pro hac vice)
 Mark E. Thomson (admitted pro hac vice)         100 Northern Avenue
 Jennifer K. Lee (admitted pro hac vice)         Boston, Massachusetts 02210
 Steven J. Eiden (admitted pro hac vice)         Telephone: (617) 570-1000
 4700 IDS Center                                 jfleckner@goodwinlaw.com
 80 S. 8th Street                                drosenberg@goodwinlaw.com
 Minneapolis, MN 55402
 Telephone: (612) 256-3200                       Gabrielle L. Gould (admitted pro hac vice)
 lukas@nka.com                                   Samuel J. Rubin (admitted pro hac vice)
 bspecht@nka.com                                 The New York Times Building
 mthomson@nka.com                                620 Eighth Avenue
 jlee@nka.com                                    New York, New York 10018
 seiden@nka.com                                  Telephone: (212) 813-8800
                                                 ggould@goodwinlaw.com
 FREKING MYERS & REUL LLC                        srubin@goodwinlaw.com
  George M. Reul, Jr. (0069992)
 600 Vine Street, Ninth Floor                    DINSMORE & SHOHL LLP
 Cincinnati, Ohio 45202                          Jennifer O. Mitchell
 Telephone: 513-721-1975                         255 E. Fifth Street, Suite 1900
                                                 Cincinnati, Ohio 45202
 greul@fmr.law                                   Telephone: (513) 977-8364
                                                 jennifer.mitchell@dinsmore.com
 ATTORNEYS FOR PLAINTIFFS
                                                 ATTORNEYS FOR DEFENDANT
                                                 FIRSTGROUP AMERICA, INC. AND THE
                                                 FIRSTGROUP AMERICA, INC. EMPLOYEE
                                                 BENEFITS COMMITTEE

                                                 O’MELVENY & MYERS LLP
                                                 By: /s/ William Pollak
                                                 Stuart Sarnoff
                                                 William Pollak
                                                 Times Square Tower
                                                 7 Times Square
                                                 New York, NY 10036

                                                2
Case: 1:18-cv-00326-MWM Doc #: 86 Filed: 05/06/22 Page: 3 of 4 PAGEID #: 2663




                                      Telephone: (212) 326-2000
                                      ssarnoff@omm.com
                                      wpollak@omm.com

                                      Shannon Barrett
                                      Brian Boyle
                                      1625 Eye Street, NW
                                      Washington, DC 20006-4061
                                      Telephone: (202) 383-5300
                                      sbarrett@omm.com
                                      Bboyle@omm.com

                                      BINGHAM GREENEBAUM DOLL LLP
                                      V. Brandon McGrath (0072057)
                                      2350 First Financial Center
                                      255 East Fifth Street
                                      Cincinnati, Ohio 45202-4728
                                      Telephone: 513.455.7641
                                      bmcgrath@bgdlegal.com

                                      ATTORNEYS FOR DEFENDANT AON
                                      HEWITT INVESTMENT CONSULTING,
                                      INC. (NKA AON HEWITT INVESTMENTS
                                      USA, INC.)




                                     3
  Case: 1:18-cv-00326-MWM Doc #: 86 Filed: 05/06/22 Page: 4 of 4 PAGEID #: 2664




                                CERTIFICATE OF SERVICE

       I hereby certify that on this 6th day of May, 2022, a true and accurate copy of the foregoing

was filed electronically. Notice of this filing will be delivered to the parties by operation of the

Court’s electronic filing system. Parties may access this filing through the Court’s system.

                                                                     /s/ Paul J. Lukas




                                                 4
